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      In The United States Court of Federal Claims
                                          No. 12-883C

                                    (Filed: December 21, 2012)
                                            __________

 CENTERSCOPE TECHNOLOGIES,
 INC.,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                           __________

                                            ORDER
                                           __________

         Today, plaintiff moved to consolidate this case with Insight Systems Corp. v. United
States, 12-863C (Fed. Cl.). Neither defendant nor the plaintiff in Insight objects to
consolidation. The motion is hereby GRANTED. All further filings in this matter should be
filed in Insight Systems Corp. v. United States, 12-863C (Fed. Cl.).

        The parties in this now consolidated matter are hereby ordered to comply with the terms
of the protective order entered in Insight, 12-863C (Dkt. 14).

       IT IS SO ORDERED.


                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
